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                                UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MASSACHUSETTS (Boston)

In Re:                                                     Case Number 13-13757
Carl H. Herisse                                            Chapter 13

          MOTION OF U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR
     STRUCTURED ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH
     CERTIFICATES, SERIES 2006-BC6 TO CLARIFY AND/OR RECONSIDER ORDER ON
          MOTION FOR RELIEF FROM THE AUTOMATIC STAY [DOC. NO. 67]

          Now comes U.S. Bank National Association, as Trustee for Structured Asset Securities
Corporation, Mortgage Pass-Through Certificates, Series 2006-BC6 (“Secured Creditor”) and hereby files
this Motion to Clarify and/or Reconsider the Court’s Order of May 14, 2018 denying Secured Creditor’s
Motion for Relief from the Automatic Stay [Doc. No. 67]. As grounds for this Motion, Secured Creditor
states the following:


     1.      Carl H. Herisse (a/k/a Carl-Henri Herisse) (hereinafter referred to as the “Debtor”) is the
             mortgagor of a certain parcel of real estate known and numbered as 6 Beech Tree Lane,
             Holbrook, MA 02343 (the “Property”). The Property is encumbered by a first mortgage given
             by the Debtor and non-debtor and co-mortgagor, Pamela R. Herisse, to Option One Mortgage
             Corporation (the “Mortgage”). The Mortgage is dated August 29, 2006 and is recorded in
             Norfolk County Registry of Deeds in Book 24026, Page 537, as affected by the Loan
             Modification Agreement approved by order of this Court of October 21, 2014 [see Doc. No.
             54]. The Mortgage was thereafter assigned to Secured Creditor. Ocwen Loan Servicing, LLC
             (“Ocwen”) is the current servicer for this loan on behalf of Secured Creditor.


     2.      The Mortgage secures a promissory note given by the Debtor and non-debtor and co-
             mortgagor, Pamela R. Herisse, to Option One Mortgage Corporation in the original principal
             amount of $569,905.00 (the “Note”).


     3.      The Debtor’s Chapter 13 Petition was filed on June 20, 2013.


     4.      Pursuant to the Debtor’s (Amended) Chapter 13 Plan, the Property is to be surrendered.


     5.      On or about May 10, 2018, Secured Creditor filed a Motion for Relief based upon the Debtor’s
             failure to remain current with post-petition mortgage payments [Doc. No. 61]. An Affidavit of
             Service was filed concurrently with such Motion [Doc. No. 62]. At the time that said Motion


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             was filed, the underlying mortgage account was in arrearage post-petition in the amount of
             $4,986.83, excluding attorney’s fees and costs.


     6.      The Court entered on order to correct deficiency on May 11, 2018 [Doc. No. 63], requesting
             additional service be performed upon judicial lienholder, Discover Bank, in compliance with
             Fed. Rule of Bankr. Proc. 7004(h) specifically. Thereafter, Secured Creditor filed a
             Supplemental Certificate of Service and Supplemental Affidavit of Service [Doc. No. 65 and 66
             respectively] to address such order.


     7.      On May 14, 2018, the Court subsequently entered an order denying Secured Creditor’s Motion
             for Relief from the Automatic Stay [Doc. No. 67] outright due to improper service upon two
             additional judicial lienholders, Midland Funding LLC and Cach LLC, which has not been
             identified in its original order to correct deficiency of May 11, 2018.


     8.      To the extent that the Court has deemed the underlying Motion for Relief as a contested matter
             despite the Debtor’s proposed surrender of the subject property in his (Amended) Chapter 13
             Plan, Secured Creditor contends that its service upon both Midland Funding LLC and Cach
             LLC was proper and in compliance with Rule 7004.


     9.      Neither Midland Funding LLC or Cach LLC are insured depository institutions, but are rather
             foreign limited liability companies (LLCs), and as such, service of process pursuant to Rule
             7004(h) does not apply. Furthermore, neither company is identified as an insured institution in
             the database of the Federal Deposit Insurance Corporation (FDIC).


     10.     Per the Certificate of Service accompanying Secured Creditor’s Motion, as well as the Affidavit
             of Service filed concurrently therewith, Midland Funding LLC and Cach LLC were both served
             at their primary business address(es), via their respective attorney(s) of record, and via their
             registered agent(s) for service of process per the Corporations Division of the Office of the
             Secretary of State of the Commonwealth of Massachusetts—in compliance specifically with
             Rule 7004(b)(3).




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     WHEREFORE, Secured Creditor respectfully requests that the Court:


          1)       Vacate its Order denying Secured Creditor’s Motion for Relief from the Automatic Stay
                   [Doc. No. 67], OR clarify its position in said Order that service of the Motion at issue
                   upon judicial lienholders, Midland Funding LLC and Cach LLC, was improper for the
                   reasons set forth above; and/or


          2)       Grant such other relief as the court deems just and proper.




DATED: May 15, 2018

                                                     Respectfully submitted,
                                                     U.S. Bank National Association, as Trustee for
                                                     Structured Asset Securities Corporation, Mortgage
                                                     Pass-Through Certificates, Series 2006-BC6
                                                     By its attorney,

                                                     /s/ Marcus Pratt
                                                     Marcus Pratt, Esquire
                                                     BBO #684610
                                                     Korde & Associates, P.C.
                                                     900 Chelmsford Street, Suite 3102
                                                     Lowell, MA 01851
                                                     Tel: (978) 256-1500
                                                     bankruptcy@kordeassociates.com




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                              UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS (Boston)

In Re:                                                   Case Number 13-13757
Carl H. Herisse                                          Chapter 13

                                     CERTIFICATE OF SERVICE

        I, Marcus Pratt, Attorney for U.S. Bank National Association, as Trustee for Structured Asset
Securities Corporation, Mortgage Pass-Through Certificates, Series 2006-BC6 hereby certify that on
May 15, 2018 I electronically filed the foregoing Motion to Reconsider and/or Clarify with the United
States Bankruptcy Court for the District of MA using the CM/ECF System. I served the forgoing
documents on the following CM/ECF participants:

John Fitzgerald, Assistant U.S. Trustee
Carolyn Bankowski, Trustee
Mark C. Rossi, Esquire

        I certify that I have mailed by first-class and/or certified mail, as necessary and appropriate per
the Federal Rules of Bankruptcy Procedure, the documents electronically filed with the Court on the
following non-CM/ECF participants:

Carl H. Herisse                                   Midland Funding LLC
6 Beech Tree Lane                                 c/o Corporation Service Company, Registered Agent
Holbrook, MA 02343                                84 State Street
                                                  Boston, MA 02109
Carl H. Herisse
276 West Elm Street, #2B                          Discover Bank
Brockton, MA 02301                                c/o Stephen A. Wiener, Esquire
                                                  Law Offices of Howard Lee Schiff P.C
Pamela R. Herisse                                 340 Main Street, Suite 959
6 Beech Tree Lane                                 Worcester, MA 01608-0613
Holbrook, MA 02343
                                                  Discover Bank
Paul Digirolamo, Treasurer/Collector              502 East Market Street
Town of Holbrook, MA                              Greenwood, DE 19950
50 N. Franklin Street
Holbrook, MA 02343                                Discover Bank
                                                  c/o CT Corporation System, Registered Agent
Donna Andrew, Assistant Treasurer                 155 Federal Street, Suite 700
Town of Holbrook, MA                              Boston, MA 02110
50 N. Franklin Street
Holbrook, MA 02343                                Cach LLC
                                                  c/o James Anthony Cambece, Esquire
Brenda Lee, Assistant Collector                   J.A. Cambece Law Office, P.C.
Town of Holbrook, MA                              200 Cummings Center, Suite 173D
50 N. Franklin Street                             Beverly, MA 01915
Holbrook, MA 02343
                                                  Cach LLC
                                                  625 Pilot Road, Suite 21
                                                  Las Vegas, NV 89119


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Midland Funding LLC                        Cach LLC
as Assignee for Citibank USA NA            c/o Corporation Service Company, Registered Agent
c/o Stephen A. Wiener, Esquire             84 State Street
Law Offices of Howard Lee Schiff P.C.      Boston, MA 02109
340 Main Street, Suite 959
Worcester, MA 01608-0613                   Discover Bank
                                           c/o David W. Nelms, Chairman & CEO
Midland Funding LLC                        502 East Market Street
3111 Camino Del Rio North, Suite 103       Greenwood, DE 19950
San Diego, CA 92108




                                           /s/ Marcus Pratt
                                           Marcus Pratt, Esquire
                                           BBO #684610
                                           Korde & Associates, P.C.
                                           900 Chelmsford Street, Suite 3102
                                           Lowell, MA 01851
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